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                 EXHIBIT B
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                                                                               Exhibit B
          ORAL ARGUMENT SCHEDULED FOR MAY 12, 2025

             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES STEEL
 CORPORATION, et al.,

                      Petitioners,                           No. 25-1004

                 v.

COMMITTEE ON FOREIGN
  INVESTMENT IN THE UNITED
  STATES, et al.,

                  Respondents.




         CONSENT MOTION TO PLACE CASE IN ABEYANCE

      Pursuant to Federal Rule of Appellate Procedure 27, the government

respectfully moves to place this case in abeyance until June 5, 2025, pending

further administrative proceedings as described below. Petitioners consent to

this motion. In support of this motion, the government states the following:

      1. This petition for review, filed under 50 U.S.C. § 4565(e)(2), seeks

review of the Presidential Order Regarding the Proposed Acquisition of

United States Steel Corporation by Nippon Steel Corporation, 90 Fed. Reg.

2605 (Jan. 3, 2025), and the related referral to then-President Biden by the
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Committee on Foreign Investment in the United States (CFIUS). That order

prohibits the proposed acquisition of U.S. Steel by Nippon Steel Corporation

and Nippon Steel North America (the “Purchasers”). See id. § 2. The order also

reserves the President’s “authority to issue further orders with respect to the

Purchasers or U.S. Steel as shall,” in the President’s judgment, “be necessary to

protect the national security of the United States.” Id. § 3.

      On April 6, 2025, President Trump, acting pursuant to that reservation

of authority, issued a Presidential Memorandum that directs CFIUS “to

conduct a review of the acquisition of U.S. Steel by the Purchasers to assist”

the President “in determining whether further action in this matter may be

appropriate.” Presidential Memorandum Regarding the Review of Proposed

United States Steel Corporation Acquisition § 1(a) (Apr. 6, 2025). That

memorandum provides that “CFIUS’s review shall be conducted de novo,

confidentially, and consistent with the procedures set forth for national security

reviews” under 50 U.S.C. § 4565, “including, but not limited to, identifying

potential national security risks associated with the proposed transaction and

providing adequate opportunity to the parties to respond to such concerns.” Id.

§ 1(b). The memorandum also directs CFIUS to “submit a recommendation”

to the President “within 45 days” that describes “whether any measures

proposed by the parties are sufficient to mitigate any national security risks
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identified by CFIUS” and that “include[s] a statement describing each member

agency’s position, including the reasons for such position.” Id. § 2.

      2. Petitioners filed their opening brief on February 3, 2025. Petitioners

generally contend that President Biden’s order prohibiting the proposed

acquisition violated petitioners’ due process rights and was ultra vires, and that

CFIUS’s referral to the President violated petitioners’ due process rights and

the APA’s requirements. See Opening Br. 9-10. The government’s response

brief, as well as the classified portions of the Administrative Record, are

currently due on April 7, 2025. The court has scheduled oral argument for May

12, 2025.

      In light of President Trump’s memorandum, the government respectfully

requests that this appeal be placed in abeyance for 60 days from the date of the

President’s memorandum—until June 5, 2025. That 60-day window will

provide CFIUS with the 45 days contemplated in the memorandum to

complete its de novo review and will provide the President with an additional

15 days to act on any recommendation from CFIUS. Cf. 50 U.S.C. § 4565(d)(2)

(generally providing the President with 15 days from “the date on which the

investigation of the transaction” is “completed” or “the date on which the

Committee otherwise refers the transaction to the President” to “announce the

decision on whether or not to take action” with respect to the transaction). The
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government further requests that oral argument be taken off the calendar

pending abeyance. Abeyance is warranted because that administrative process

has the potential to fully resolve petitioners’ claims. Placing this appeal in

abeyance for 60 days pending those proceedings and taking the oral argument

currently scheduled for May 12 off the calendar will best preserve the resources

of the parties and the Court. The parties will report to the Court on June 5,

2025, or 48 hours after the President acts, whichever is earlier, whether

continued abeyance is warranted and, if not, a proposal for further briefing.

      3. Counsel for petitioners have informed the government that petitioners

consent to this motion.

                                             Respectfully submitted,

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                                              Acting Assistant Attorney General

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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because it contains 654 words, according

to the count of Microsoft Word.


                                            /s/ Sean R. Janda
                                           Sean R. Janda




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